                           Case 1:18-cr-00258-BLW  Document 364-1
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   FD-1057 (Rev. 5-8-10)
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                               FEDERAL BUREAU OF INVESTIGATION
                                              Electronic Communication


               Title:       (U) Controlled evidence purchase funding.         Date:   06/28/2018


               From:       SALT LAKE CITY
                              Contact: SHEEHAN CHRISTOPHER T, 208-344-7843

               Approved By:       SSRA HART DOUGLASS


               Drafted By:       SHEEHAN CHRISTOPHER T


               Case ID#: 245H-SU-59158               (U) OPERATION RUSSIAN RUBLE;
                                                     PA-ID-133;
                                                     OCDETF - EURASIAN ORGANIZATIONS

               Synopsis:  (U) An EC to denote funding for the evidence purchases in
               this case at the request of the USAO.

              Details:

                  All controlled evidence purchases in this case, either through hand
               to hand purchases by an FBI CHS or an FBI UCE, or FBI internet based
               purchases were made through FBI funding pertaining to OCDETF Operation
               Russian Ruble (PA-ID-133). HSI also conducted internet based purchases
               in 2016 where they used HSI funding. The Apple Corporation and the
               Samsung Corporation did not provide any funding for this case .




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